                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ALABAMA
                                     EASTERN DIVISION

 IN RE:                                          )
 TERRI TAYLOR EASTERBROOKS,                      ) BK CASE #15-41911 JJR7
                                                 )
                          DEBTOR.                )

                            REPORT OF UNCLAIMED FUNDS UNDER
                                 BANKRUPTCY RULE 3011

         Pursuant to Bankruptcy Code §11347 and Rule 3011, Unclaimed Funds in Chapter 7
 Liquidation, a list of all known names and addresses of the entities and the amounts which they are
 entitled to be paid from the remaining property of the estate shall be filed with the clerk.

 Claim #         Name & Last Known Address                                Amount of Dividend

 Exemption       Terri Taylor Easterbrooks                                        $15,000.00
                 589 Hayden Road
                 Talladega, AL 35160

                 Reason: Returned “Not Deliverable as Addressed, Unable to Forward

 _______________________________________________________________________
                                TOTAL REMITTED TO COURT: $15,000.00


         Date: 08/14/19                          RESPECTFULLY SUBMITTED,

                                                         /s/ Rocco J. Leo_
                                                         ROCCO J. LEO, TRUSTEE
                                                         3250 Independence Drive, Suite 150
                                                         Birmingham, AL 35209
                                                         Telephone: (205) 879-0000
                                                         Facsimile: (205) 879-9281
                                                         rleo@leoandoneal.com




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of August, 2019, I served a copy of the above and
 foregoing on all parties listed below:

 ____ Facsimile transmission;
 ____ Hand delivery;
 _x__ Served via Notice of Electronic Filing:

               Honorable Robert J. Landry, III
               Assistant Bankruptcy Administrator
               robert_landry@alnba.uscourts.gov

               Max C. Pope, Jr.
               Attorney for Trustee
               Max@maxpopejr.com

 _x__   Placing a copy of same in the United States Mail, properly addressed and first class
        postage prepaid to:

               Terri Taylor Easterbrooks
               589 Hayden Road
               Talladega, AL 35160


                                                          s/ Rocco J. Leo
                                                          Trustee




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